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 5   Attorney for ANDRES DOMINGUEZ AGUIRRE

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 8                                    UNITED STATES DISTRICT COURT

 9                           FOR THE EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                         Case No. 1:17-cr-00216-DAD-BAM-2
12                       Plaintiff,
13            v.                                       STIPULATION AND ORDER TO
                                                       CONTINUE SENTENCING HEARING
14   ANDRES DOMINGUEZ AGUIRRE,
15                       Defendant.
16

17   TO: THE CLERK OF THE UNITED STATES DISTRICT COURT, HONORABLE DALE A.

18   DROZD AND VINCENZA RABENN, ASSISTANT UNITED STATES ATTORNEY:

19            COMES NOW Defendant, ANDRES DOMINGUEZ AGUIRRE by and through his

20   attorney of record, Virna L. Santos, hereby requesting that the sentencing hearing currently set for

21   May 29, 2018 be continued to June 11, 2018.

22            This continuance is necessary to permit counsel time to conduct additional investigation

23   and research for Mr. Dominguez Aguirre’s sentencing brief. In addition, undersigned counsel has

24   a scheduling conflict that arose after this hearing was set. Undersigned counsel has corresponded

25   with AUSA Vincenza Rabenn, who has no objection to continuing the sentencing hearing to June

26   11, 2018.

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 1          IS SO STIPULATED.

 2   DATED: May 9, 2018                                    Respectfully Submitted,
 3                                                         /s/ Virna L. Santos____________
 4                                                         VIRNA L. SANTOS
                                                           Attorney for Defendant
 5                                                         ANDRES DOMINGUEZ AGUIRRE

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 7   DATED: May 9, 2018                                    /s/_Vincenza Rabenn___________
                                                           VINCENZA RABENN
 8                                                         Assistant U.S. Attorney
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10                                               ORDER
11          The court has reviewed and considered the stipulation of the parties to continue the

12   sentencing in this case. Good cause appearing, the sentencing hearing as to the above named

13   defendant currently scheduled for May 29, 2018, is continued until June 11, 2018, at 10:00 a.m.

14   in courtroom 5 before District Judge Dale A. Drozd.

15   IT IS SO ORDERED.
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        Dated:    May 10, 2018
17                                                       UNITED STATES DISTRICT JUDGE

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